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 UNITED STATES DISTRICT COURT                                EASTERN DISTRICT OF TEXAS


GREGORY WATKINS,                 §
                                 §
          Plaintiff,             §
                                 §
versus                           §                     CIVIL ACTION NO. 1:21-CV-393
                                 §
INMATE TRUST FUND & PRISON MAIL, §
                                 §
          Defendant.             §
                     MEMORANDUM ORDER ADOPTING
           THE MAGISTRATE JUDGE’S REPORT AND RECOMMENDATION

         Gregory Watkins, proceeding pro se, filed the above-styled lawsuit. The court referred

this matter to the Honorable Christine L. Stetson, United States Magistrate Judge, at Beaumont,

Texas, for consideration pursuant to applicable laws and orders of the court. The magistrate judge

has submitted a Report and Recommendation of United States Magistrate Judge recommending this

lawsuit be dismissed without prejudice pursuant to Federal Rule of Civil Procedure 41(b) for want

of prosecution. The recommendation was based on Plaintiff’s failure to comply with a court

order.

         The court has received the Report and Recommendation of United States Magistrate Judge,
along with the record, pleadings, and all available evidence. No objections were filed to the

Report and Recommendation.
                                              ORDER

         Accordingly, the findings of fact and conclusions of law of the magistrate judge are correct

and the report of the magistrate judge (#8) is ADOPTED as the opinion of the court. A final

judgment will be entered dismissing this lawsuit.

           SIGNED at Beaumont, Texas, this 27th day of October, 2021.




                                              ________________________________________
                                                          MARCIA A. CRONE
                                                   UNITED STATES DISTRICT JUDGE
